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                                            Pg 1 of 3


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ____________________________________
                                      )
 In re:                               )
                                      )
 TRANSCARE CORPORATION, et al.        )                 Chapter 7
                                      )                 Case No. 16-10407 (SMB)
             Debtors.                 )                 (Jointly Administered)
 ____________________________________)


                                  AFFIDAVIT OF SERVICE

 STATE OF NEW YORK  )
                    )                ss.:
 COUNTY OF NEW YORK )


                EVAN S. MELLUZZO, being duly sworn, deposes and states that I am not a

 party to this proceeding, am over 18 years of age and employed by Schulte Roth & Zabel LLP.

 On December 19, 2016, deponent served a copy of the Objections of Schulte Roth & Zabel LLP

 to the Motion of Andy J. Creswell, Esq. and Perkins Thompson, P.A. to Withdraw as Counsel

 for Patriarch Partners Agency Services, LLC, via electronic transmission upon the following at

 the email addresses designated for that purpose:


 panderson@fslc.com                kdeleon@outtengolden.com        awilliams@oshr.com
 rbrook@msek.com                   sfox@mcguirewoods.com          dfiorillo@otterbourg.com
 tbrown@cochranfirm.com            agiacobbe@zeklaw.com           gh@lhmlawfirm.com
 lcary@carykane.com                rgilbert@hwrpc.com             hrh@lhmlawfirm.com
 bdiamond@wsatlaw.com              egoldstein@goodwin.com         jhoran@srddlaw.com
 jmerlino@wsatlaw.com              bankruptcy@goodwin.com         jhoranlaw@gmail.com
 sreisman@curtis.com               ezucker@blankrome.com          tjensen@carykanelaw.com
 sdoil@perkinsthompson.com         jmanning@goodwin.com           mkasen@kasenlaw.com
 rraiche@mid-hudsonlaw.com         bkdocket@fslc.com              zkass@law.nyc.gov
 mdavis@zeklaw.com                 k.gross@fuchsberg.com          jkiba@nysif.com
 mmccarthy@zeklaw.com              b.agostini@fuchsberg.com       hkleinberg@MSEK.com
 rguttmann@zeklaw.com              lharrison@curtis.com           kgiddens@msek.com
 mmillnamow@zeklaw.com             jdrew@curtis.com               elobello@msek.com
 jdell@d2triallaw.com              cgiglio@curtis.com             seth.kupferberg@ag.ny.gov


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                                            Pg 2 of 3


 ksinnott@d2triallaw.com            jpizzurro@curtis.com            okurtz@gardylaw.com
 cdesiderio@nixonpeabody.com        emunson@curtis.com              sl@lhmlawfirm.com
 apabon@nixonpeabody.com            pbuenger@curtis.com             npasalides@reichpc.com
 TDonovan@GWFGlaw.com               tfoudy@curtis.com               jsl@lhmlawfirm.com
 jstrauss@gwfglaw.com               snamnum@curtis.com              rschultz@fslc.com
 rfisher@outtengolden.com           jhelfat@oshr.com                filings@spallp.com
 grl@spallp.com                     cgiglio@curtis.com              csimon@otterbourg.com
 lwilliams@goodwin.com              jdrew@curtis.com                nregina@otterbourg.com
 bpowers@sallp.com                  mgallagher@curtis.com           paulina.stamatelos@ag.ny.gov
 tmcelduff@drakeloeb.com            pbuenger@curtis.com             enid.stuart@ag.ny.gov
 rms@robinsonbrog.com                                               lvladeck@carykane.com

 andrea.b.schwartz@usdoj.gov                     slamonica@ecf.epiqsystems.com
 nybankruptcydocketing@blankrome.com             bankruptcyparalegal@goodwin.com
 rcreswell@perkinsthompson.com                   GLuckman@SilvermanAcampora.com
 bankruptcy@morrisoncohen.com                    igoldstein@trenklawfirm.com
 lmcaleer@perkinsthompson.com

        In addition, deponent served the aforementioned document on December 19, 2016 upon

 the following at the addresses designated for that purpose:

 Allan S. Bloom                      Gary J Brandel                   Nayirie Kuyumjian
 Proskauer Rose LLP (NY)             c/o Jeffrey C. Daniels, P.C.     Proskauer Rose LLP
 11 Times Square                     4 Carren Circle                  11 Times Square
 New York, NY 10036                  Huntington, NY 11743             New York, NY 10036

 Local 1181-1061, Amalgamated        Michael Brian Ershowsky
 Transit Union, AFL-CIO              Levi & Korsinsky, LLP
 20 N. Central Avenue, Suite A       30 Broad Street , 24th Flr.
 Valley Stream, NY 11580-3816        New York, NY 10004

 Michael Luskin                      Eduard Korsinsky
 Luskin, Stern & Eisler LLP          Levi & Korsinsky, LLP
 11 Times Square                     30 Broad Street, 24th floor
 New York, NY 10036                  New York, NY 10004

 Andrew Evan Rice                    Christopher James
 Proskauer Rose LLP                  Levi & Korsinsky, LLP
 11 Times Square                     30 Broad Street , 24th Flr.
 New York, NY 10036                  New York, NY 10004




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                Said service was made by depositing true copies of said document, enclosed in

 post-paid sealed wrappers, properly addressed to the above-name and deposited in an official

 depository under the exclusive care and custody of the United States Postal Service within the

 State of New York.


                                                             /s/ Evan S. Melluzzo
                                                             EVAN S. MELLUZZO


 Sworn to before me this
 20th day of December, 2016


 /s/ Ill-llya V. Moore
 Notary Public

 Ill-llya V. Moore
 Notary Public, State of New York
 No. 01MO6269700
 Qualified in Queens County
 Certificate Filed in New York County
 Commission Expires Oct. 1, 2020




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